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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
PAGUADA,

                              Plaintiff,

         -v-
                                                        CIVIL ACTION NO.: 20 Civ. 7403 (PAE) (SLC)

                                                               ORDER TO INITIATE DEFAULT
BEDGEAR, LLC,
                                                                     PROCEEDINGS
                              Defendant.



SARAH L. CAVE, United States Magistrate Judge:

         The Complaint in this action was served on October 6, 2020, with Defendant Bedgear

LLC’s Answer due on October 27, 2020. (ECF No. 6). No Answer having been filed on the docket,

Plaintiff is hereby ORDERED to request a Certificate of Default from the Clerk of Court and to file

a Motion for Default Judgment in accordance with the Individual Practices of the Honorable Paul

A. Engelmayer § (3)(M), Rule 55 of the Federal Rules of Civil Procedure, and S.D.N.Y. Local Rule

55 by no later than Wednesday, November 18, 2020.


Dated:          New York, New York
                November 4, 2020

                                                     SO ORDERED



                                                     _________________________
                                                     SARAH L. CAVE
                                                     United States Magistrate Judge
